                                 OPINION
{¶ 1} The State of Ohio appeals from the dismissal of an indictment against defendant-appellee Christopher Woullard for Domestic Violence. The State's sole assignment of error is as follows:
  {¶ 2} "THE TRIAL COURT ERRED AS A MATTER OF LAW WHEN IT DECLARED REVISED CODE SECTION 2919.25 UNCONSTITUTIONAL AS IT RELATES TO COHABITATING PARTNERS, PURSUANT TO ARTICLE 15, SECTION11 OF THE OHIO CONSTITUTION."
  {¶ 3} The State's assignment of error is overruled upon the authority of State v. Ward (March 24, 2006), Greene App. No. 2005-CA-75. Based upon our reasoning in that opinion, we agree with the trial court's conclusion that the extension, in R.C.2919.25(F)(1)(a)(i), of the protections of the Domestic Violence statute, to "a person living as a spouse" violates the Defense of Marriage amendment to the Ohio Constitution, Article XV, Section11.
  {¶ 4} Accordingly, the judgment of the trial court is Affirmed.
Brogan, J., concurs.